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UNITED sTATES 0F AMERICA, ) UL§§D:WCTM
) ' W/B tip \§"Ai~ EE.'.!EMS
Plaintiff, )
)
vs. ) cR. No. 04-20395-01-Ma
)
MICHAEL GREEN, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on July 20, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Michael Green, appearing in person and with
appointed counsel, Mr. Edwin A. Perry.

With leave of the Court, the defendant entered a ;dea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Wednesday, October 19,
2005 at 9:00 a.m.

The defendant is remanded to the custody of the United States
Marshal.

ENTERED this the M" day of July, 2005.

M%W'/L___

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 23 in
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EdWin A. Perry

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Honorable Samuel Mays
US DISTRICT COURT

